 

Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.22 Page 1of 18 (a

UNITED STATES DISTRICT COUR l i [ES
EASTERN DISTRICT OF MICHIGA Nov 13
SOUTHERN DIVISION 2007

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F ra
UNITED STATES OF AMERICA, U.S. DISTRICT Cor. ;
EASTERN Mice, oe
Plaintiff, No, 07-20156 haa
-VS- HON. AVERN COHN

D-1 NADA NADIM PROUTY,

Defendant.
/

RULE 11 PLEA AGREEMENT
Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant NADA

NADIM PROUTY and the government agree as follows:

1. GUILTY PLEa(s)
A. Count(s) of Conviction

Defendant will waive grand jury indictment and enter a plea of guilty to Counts One,
Two and Three of the Second Superseding Information. Count One charges Conspiracy
for which the maximum penalty is 5 Years imprisonment and a $250,000 fine: Count Two
charges Unauthorized Computer Access for which the maximum penalty is 1 Year
imprisonment and a $100,000 fine; Count Three charges Naturalization Fraud forthe which
the maximum penalty is 10 Years imprisonment and a $250,000 fine, and requires the

Court to de-naturalize the defendant pursuant to 8 U.S.C. § 1451(e).
   

Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.23 Page 2 of 18

B. Elements of Offense(s)
The elements of Count One (Conspiracy) are:

(1) Two or more persons conspired and agreed to defraud the United States and
to commit the offenses against the United States referenced in the Information;

(2) Defendant deliberately joined or became a member of the conspiracy
having knowledge of its purposes; and

(3) The conspirators committed at least one overt act in furtherance
of the conspiracy and to effect the objects of the conspiracy.

The elements of Count Two (Unauthorized Computer Access) are:

(1) Defendant accessed a computer and thereby obtained
information from an agency of the United States;

(2) In so doing, defendant exceeded her authorized access
to information within the computer system; and

(3) Defendant did so intentionally and not as a
result of an accident or mistake.

The elements of Count Three (Naturalization Fraud) are:
(1) Defendant obtained naturalization or citizenship;

(2) Defendant did so contrary to law by making
false statements which were material; and

(3) Defendant did so knowingly and intentionally,

 
 

ase 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.24 Page 3 of 18

Cc. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for defendant's guilty plea:

From April 13, 1990 through September 21, 2007, NADA NADIM PROUTY
conspired with Samar Khalil Nabbouh, Elfat Nadim Ei Aouar, Talal Khalil Chahine, and
others to defraud the United States of valuable benefits of U.S. citizenship including U.S.
government employment, security clearances, U.S. military commissions, passports etc.,
and to commit offenses against the United States including marriage fraud, naturalization
fraud, perjury, false statements, and use of fraudulently procured proof of citizenship. In
furtherance of the conspiracy and to effect its objects, NADA NADIM PROUTY committed
the following overt acts: 1.) Defendant PROUTY committed marriage fraud in violation of
8 U.S.C. § 1325 by marrying U.S. citizen Chris Michael Deladurantaye in Detroit, Michigan
on August 9, 1990 for the purpose of evading U.S. immigration laws; 2.) Defendant
PROUTY submitted a series of false, fraudulent and forged documents and letters to
immigration authorities verifying the validity of the fraudulent marriage in order to obtain
permanent residency status and, later, U.S. citizenship, thereby committing naturalization
fraud in violation of 18 U.S.C. § 1425(a). In fact, defendant PROUTY hired Deladurantaye
to marry her, never had any relationship with Deladurantaye or consummated the
marriage, and never resided with Deladurantaye as husband and wife as falsely
represented continuously throughout her A-file (alien file); 3.) Defendant PROUTY
defrauded the Federal Bureau of investigation into hiring her on or about April 21, 1997 by,
among other things, utilizing her fraudulently procured naturalization certificate, continuing
to assert that her marriage to Deladurantaye was legitimate, and denying or failing to
disclose any criminal or other compromising activity in her background; 4.) Defendant
PROUTY defrauded the Central Intelligence Agency into hiring her on or about February
15, 2003 by, among other things, referencing her fraudulently procured naturalization
certificate, continuing to assert that her marriage to Deladurantaye was legitimate, and
denying or failing to disclose any criminal or other compromising activity in her background.

On June 24, 2003, NADA NADIM PROUTY, while employed as a Special Agent of
the Federal Bureau of Investigation, an agency of the U.S. Department of Justice,
intentionally accessed the FB] Automated Case Support (ACS) computer system to obtain
information from a national security investigation being conducted by the FBI's Detroit,
Michigan field office. The case number of the investigation was DE-74791. The subject
matter of the investigation was the designated foreign terrorist organization, Hizballah.
Defendant was not assigned to work on Hizballah cases as part of her FBI duties, and she
was not authorized by her supervisor, the case agent assigned to the case, or anyone else
to access information from the investigation in question. At the time, defendant PROUTY
knew that she was permitted to access information from the ACS system for official
business only and that the information was available only to persons having a legitimate
need to know.

-3-
 

Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.25 Page 4 of 18

2. SENTENCING GUIDELINES

A. standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. Agreed Guideline Range

There are no sentencing guideline disputes. Except as provided below, defendant's
guideline range is 6 to 12 months, as set forth on the attached worksheets. If the Court
finds:

a) that defendant's criminal history category is higher than reflected on the

attached worksheets, or

b) that the offense level should be higher because, after pleading guilty,

defendant made any false statement to or withheld information from her

probation officer; otherwise demonstrated a lack of acceptance of

responsibility for her offense(s); or obstructed justice or committed any crime,
and if any such finding resuits in a guideline range higher than 6 to 12 months, the higher
guideline range becomes the agreed range. However, if the Court finds that defendant is
4 career offender, an armed career criminal, or a repeat and dangerous sex offender as
defined under the sentencing guidelines or other federal law, and that finding is not already
reflected in the attached worksheets, this paragraph does not authorize a corresponding
increase in the agreed range.

Neither party may take a position concerning the applicable guidelines that is

different than any position of that party as reflected in the attached worksheets, except as

-4-

 
   

Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.26 Page 5of 18

necessary to the Court's determination regarding subsections a) and b), above. Apart from
the actual calculation of the sentencing guideline range, this agreement does not limit
defendant's ability to argue for a sentence below the stipulated sentencing guideline range
based upon the sentencing factors of 18 U.S.C. § 3553.
3. SENTENCE

The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing so
must consider the sentencing guideline range.

A. imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) the sentence of
imprisonment in this case may not exceed the mid-point of the sentencing guideline range
as determined by Paragraph 2B. Moreover, the government will not oppose defendant's
request to be sentenced under the alternatives referenced in U.S. Sentencing Guideline
§ 5C1.1(c)(2) & (3), applicable to Zone B of the Sentencing Table.

B. Supervised Release

A term of supervised release may follow any term of imprisonment. The Court may
impose a term of supervised release on count one, two, and three of up to 3 years on each
count. The agreement concerning imprisonment described above in Paragraph 3A does
not apply to any term of imprisonment that results from any later revocation of supervised
release.

Cc. Special Assessment(s)

Defendant will pay a special assessment of $225 and must provide the government

-5-

 

 
   

 

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Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.27 Page 6 of 18

with a receipt for the payment before sentence is imposed.

D. Fine

The Court may impose a fine on each count of conviction in any amount up to
$250,000.

E. Restitution

Restitution is not applicable to this case.

4. WAIVER OF STATUTE OF LIMITATIONS.

Defendant has been advised that the statute of limitations for Naturalization Fraud
in violation of 18 U.S.C. § 1425 is ten years after the commission of the offense. 18 U.S.C.
§ 3291. Accordingly, defendant could not be prosecuted for count 3 of the Second
Superseding Information without her consent and express waiver of the statute of
limitations, which expired on or about August 5, 2004. Defendant hereby waives the
statute of limitations otherwise applicable to count 3, consents to be prosecuted on that
charge without regard to the statute of limitations and to plead guilty to the charge.

5. DEFENDANT'S EMPLOYMENT.

Defendant agrees to take all necessary steps to resign from her employment with
the Central Intelligence Agency (CIA) by November 6, 2007, and to fully and truthfully
cooperate with the CIA on any matters the CIA deems necessary to transition defendant
out of its employment in a manner consistent with safeguarding the national security of the
United States. Such cooperation is to include, but is not limited to, defendant’s

participation in debriefing and polygraph interviews to be conducted and concluded at the

-6-
   

 

Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.28 Page 7 of 18

convenience of the CIA.
6. OTHER CHARGES.

The government agrees not to charge defendant with any other offenses of which
it is currently aware.

7. OTHER DEFENDANTS.

Upon entry of defendant's pleas of guilty as set forth in this agreement and her
compliance with all provisions contained herein, the government will offer Rula Nadim Al-
Aauar pretrial diversion on the charge of Naturalization Fraud with the special condition
that Rula Nadim Al-Aouar relinquish, renounce, and stipulate to the revocation and
cancellation of her certificate of naturalization and the final order admitting her to United
States citizenship. The parties agree that Rula Nadim Al-Aouar's failure to accept the
government's offer or to comply with her pretrial diversion agreement, or the Court's refusal
to enforce the pretrial diversion agreement for any reason, will not constitute a basis for
withdrawing defendant's guilty pleas.

8. STIPULATION To JUDICIAL ORDER OF REMOVAL & GRANT OF WITHHOLDING TO LEBANON.

 

The defendant admits that she is a native of Lebanon, that her U.S. citizenship will
be automatically revoked as a result of her guilty plea to count 3, and that she is removable
from the United States pursuant to Title 8, United States Code, Sections 1228(c) and 1227
as a result of her guilty pleas in this case. The defendant further waives any right that she
may have to receive notice of intent to request judicial removal and a charge containing

factual allegations regarding the removal. The defendant understands and knowingly

-7-

 
 

Case 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.29 Page 8 of 18

waives her right to a hearing before an immigration judge or any other authority under the
Immigration and Nationality Act, on the question of her removability fram the United States.
The defendant further understands the rights she would possess in a contested
administrative proceeding and waives these rights, including her right to examine the
evidence against her, to present evidence on her behalf, and to cross-examine witnesses
presented by the government.

The defendant further waives any rights that she may have to apply for relief from
removal and requests that an order be issued by this court for her removal to Lebanon.
The defendant agrees to accept a written order of removal as a final disposition of these
proceedings and waives any rights she may have to appeal the order issued.

The order of removal shall also include a grant of withholding of removal to the
country of Lebanon under Title 8, United States Code, Section 1231(b)(3), pursuant to Title
8, United States Code, Section 1228(c). Defendant hereby agrees to make both the
judicial order of removal and the grant of withholding of removal to Lebanon a public
document, waiving her privacy rights, including her privacy rights under 8 C.F.R. § 208.6.
At the request of the U.S. Attorney's Office, Immigration and Customs Enforcement (ICE)
will provide its concurrence to the government's request for a judicial order of removal
coupled with a grant of withholding of removal to Lebanon as set forth above at sentencing.
As 4 result of the above-referenced order, upon the completion of defendant's criminal
proceedings, including any sentence of incarceration and any court-imposed supervision,

defendant shall be placed on supervised release with ICE. Defendant will make good faith

-8-

 

 
 

Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.30 Page 9 of 18

and timely efforts to comply with ail requirements imposed by ICE as part of an order of
supervision and will comply with all jegal obligations relating to authorization for work
and/or travel.

The Court's failure, for any reason, to enter the judicial order of removal or the
withholding of removal, shall make this plea agreement, and the promises contained
herein, null and void. Moreover, defendant shall be permitted to withdraw her pleas of
guilty in such an event.

9. EACH PARTY’s RIGHT To WiTHDRAW FROM THIS AGREEMENT

The government may withdraw from this agreement if the Court finds the correct
guideline range to be different than is determined by Paragraph 2B.

Defendant may withdraw from this agreement, and may withdraw her guilty pleas,
if the Court decides to impose a sentence higher than the maximum allowed by Part 3.
The Court shail advise defendant that if she does not withdraw her guilty plea under this
circumstance, the Court may impose a sentence greater than the maximum allowed by
Part 3.

10. RIGHT TO APPEAL

If the sentence imposed does not exceed the maximum allowed by Part 3 of this
agreement, defendant waives any right she has to appeal her conviction or sentence. If
the sentence imposed is within the guideline range determined by Paragraph 2B the
government agrees not ta appeal the sentence, but retains its right to appeal any sentence

below that range.

 

 
   

ase 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.31 Page 10 of 18

11. CONSEQUENCES OF WITHDRAWAL OF GUILTY PLEA(S) OR VACATION OF CONVICTION(S)}

If defendant is allowed to withdraw her guilty plea(s) or if any conviction entered

 

pursuant to this agreement is vacated, the Court shall, on the government's request,
reinstate any charges that were dismissed as part of this agreement. If additional charges
are filed against defendant within six months after the date the order vacating defendant's
conviction or allowing her to withdraw her guilty plea(s) becomes final, which charges relate
directly or indirectly to the conduct underlying the guilty plea(s) or to any conduct reflected
in the attached worksheets, defendant waives her right to challenge the additional charges
on the ground that they were not filed in a timely manner, including any claim that they
were filed after the limitations period expired,

12. PARTIES TO PLEA AGREEMENT

 

Unless otherwise indicated, this agreement does not bind any government agency
except the United States Attorney's Office for the Eastern District of Michigan and U.S,
Immigration and Customs Enforcement.

13. SCOPE OF PLEA AGREEMENT

This agreement, which includes all documents that it explicitly incorporates, is the
complete agreement between the parties. It ‘supersedes all other promises,
representations, understandings, and agreements between the parties concerning the
subject matter of this plea agreement that are made at any time before the guilty plea is
entered in court, Thus, no oral or written promises made by the government to defendant

or to the attorney for defendant at any time before defendant pleads guilty are binding

-10-

 
   

Case 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.32 Page 11 of 18

except to the extent they have been explicitly incorporated into this agreement.

This agreement does not prevent any civil or administrative actions against
defendant, or any forfeiture claim against any property, by the United States or any other
party.

14. ACCEPTANCE OF AGREEMENT BY DEFENDANT
This plea offer expires unless it has been received, fully signed, in the Office of the

United States Attorney by 5:00 P.M. on November 6, 2007.

 

 

“> STEPHEN J. MURPHY
Ce - United States Attorney
Cag 2
Eric M. STRAUS KENNETH R, CHADWELL
Assistant United States Attorney Assistant United States Attorney

Chief, National Security Unit Kat

Mark J. JEBSON (J

Special Assistant U.S. Attorney

senior Assistant Chief Counsel

U.S, Immigration & Customs Enforcement

Date:

By signing below, defendant acknowledges that she has read (or been read) this
entire document, understands it, and agrees to its terms. She also acknowledges that she
is satisfied with her attorney's advice and representation. Defendant agrees that she has
had a full and complete opportunity to confer with her attorney, and has had all of her
questions answered by her attorney.

HOMAS W. CRANMER NADA NADIMP BRUTY
Attorney for Defendant Defendant

-11-

 
  
 
  

ase 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.33 Page 12 of 18

WORKSHEET A_ (Offense Levels)

Defendant: Nada Nadim Prouty Counl(s): 3 &!
Docket No.: 07-20156 Statute(s): _18 U.S.C. §§ 1425, 37]

Complete one Worksheet A for cach count of conviction (taking into account relevant conduct and treating each stipulated offense as a separate
count of cunvictian) before applying the multiple-count rules in U.S.8.G. ch. 3, pt. D. However, in any case invalving multiple counts of con-
viction, if the counts of conviction are all “closcly related” to each other within the meaning of U.S.8.G. §3D1.2fd), complete only a single
Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.8.G. ch. 2)

 

 

 

 

Guideline Section Description Levels
8
21.2.2 (a) Naturalization Fraud/ Conspiracy
4
2L2.2(b\(3) Passport Use

 

 

 

 

 

 

 

 

 

 

 

 

 

2, ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

Guideline Section Description Levels

 

: 5K2.0(a\(2)(B) S/L Waiver and Denaturalization together with other

 

 

circumstances constitute exceptional case not adequately

 

 

 

 

 

taken into consideration by guidelines

3, ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items ] and 2, If this Worksheet A does not cover every count 10
of conviction (taking inte account relevant conduct and treating each stipulated offense as a separate count of
conviction), complete one or more additional Worksheets A and a single Workshect B.

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If this is the only Worksheet A, check this box and skip Worksheet B. |_|
| T

 

If the defendant has no criminal history, check this box and skip Worksheet C.

 

(rev. 66/99)

 
  
   

Case 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.34 Page 13 of 18

WORKSHEET A_ (Offense Levels)

Defendant: Nada Nadim Prouty Count(s): 2

Docket No.: _ 07-20156 Statute(s): _18 U.S.C. § 1030

Complete onc Worksheet A for cach count of conviction (taking inte account relevant conduct and treating each stipulated offense as a separate
count of conviction) before applying the multiple-count rules in U.S.8.G. ch. 3, pt. D. However, in any case involving multiple counts of con-
viction, if the counts of conviction are all “closely related” to cach other within the meaning of U.S.5.G. § 3D1.2(d), complete only a single
Warksheet A.

1, BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

 

 

 

 

 

Guideline Section Description Levels
| 6
2B1.1(a)(2) Unauthonzed Computer Access
2

2B. Wbyl4y Aya) National Security Computer

 

 

 

 

 

 

 

 

 

 

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

 

Guideline Section Description Levels
_ _ 2
3B1L3 Abuse of a Position of Trust

 

 

 

 

 

 

 

 

 

 

 

 

3. ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items | and 2. If this Worksheet A does not cover every count
of conviction (taking into account relevant conduct and trealing each stipulated offense as a separate count of
conviction), complete one or more additional Worksheets A and a single Worksheet B.

WHERE RH fe eae oe oe ae

 

if this is the only Worksheet A, check this box and skip Worksheet B.

 

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y

 

 

 

ifthe defendant has no criminal history, check this box and skip Worksheet C.

(rev, 06/99)
Case 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.35 Page 14 of 18

 
 
   

Instructions (U.S.S.G. ch. 3, pt. D):

° Group the counts of conviction into distinct Groups of Closely Related Counts, “All counts involving
substantially the same harm shall be grouped together into a single Group.” (See U.S.8.G. § 3D1.2.)

* Determine the offense level applicable to each Group. (See U.S.8.G, § 3D1.3.)
* Determine the combined offense level by assigning “units” to cach Group as follows (see U.S.5.G. § 3D1.4):

* assign] unit to the Group with the highest offense level,

* assign 1 unit to each additional Group that is equally serious as, or 1 to 4 levels less serious than, the Group
with the highest offense level,

* assign % unit to each Group that is 5 to 8 levels Jess serious than the Group with the highest offense level,

* assign no units to each Group that is 9 or more levels less serious than the Group with the highest offense
level.

 

 

1. GROUP ONE: COUNTS 2. 10 1 unit
ADJUSTED OFFENSE LEVEL

 

 

 

 

2. GROUP Two: COUNTS 1&3 10 1 unit
ADJUSTED OFFENSE LEVEL

 

 

 

 

3. GROUP THREE: COUNTS unit
ADJUSTED OFFENSE LEVEL

 

 

 

 

 

 

 

 

 

4. GROUP FOUR: COUNTS _ unit
ADJUSTED OFFENSE LEVEL
5. TOTAL UNITS 2 units

 

 

 

6. INCREASE IN OFFENSE LEVEL

 

 

 

 

lunit + no increase 214-3 units add 3 levels +2
TAunits @& add 1 level 344 -5 units @ add 4 levels
2units > add 2 levels >§ levels @ add 5 levels

 

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL 10

 

 

 

8. COMBINED ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 6 and 7,
 

 
   

ase 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.36 Page 15 of 18

WORKSHEET D (Guideline Range)

 

 

 

 

 

(COMBINED) ADJUSTED OFFENSE LEVEL e
Enter the adjusted offense level entered in Item 3 of Worksheet A or the combined adjusted offense level
entered in Item 8 of Workshect B,
ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G § 3E1.1)
-2

 

 

 

TOTAL OFFENSE LEVEL

Enter the difference between Items | and 2.

CRIMINAL HISTORY CATEGORY

Enter “I" if the defendant has no criminal history. Otherwise, enter the criminal history category
entered in ftem 6 of Worksheet C.

(CAREER OFFENDER / CRIMINAL LIVELIHOOD / ARMED CAREER CRIMINAL
(U.S.8.G, ch. 4, pt. B)

 

a. Total Offense Level: Ifthe career offender provision (U.8.8.G, § 4B1.1), the criminal livelihood provision
(U.8.8.G, § 4B1.3), or the armed carcer criminal provision (U.5.8.G, § 4B 1.4) results in a total offense
level higher than the total offense level enlered in Item 3, enter the higher offense level total.

 

 

b. Criminal History Category: Ifthe career offender provision (U.8.8.G. § 4B1.1) or the armed career criminal
provision (U,5.8,.G. § 4B 1.4) results in a criminal history category higher than the criminal history category
entered in Itern 4, enter the higher criminal history category.

GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A)
6 to 12
Enter the guideline range in the Sentencing Table (see U.S.8.G. ch. 5, pt. A) produced by the total months
offense level entered in Item 3 or 5,a and the criminal hislory calegory entered in Item 4 or 3.b.
STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE
[fthe maximum sentence authorized by statute is below, or a minimum sentence required by statute
is above, the guideline range entered in Item 6, enter cither the guideline range as restricted by
stututc or the sentence required by statute. (See U.5.5.G. § 5G1.1,) [{the sentence on any count of

conviction 1s required by statute to be consecutive to the sentence on any other count of conviction,
explain why.

 

 

 

 

 

(rev. 06/99}
Case 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.37 Page 16 of 18
WORKSHEET E (Authorized Guideline Sentences)

 
   

1. PROBATION (U.S.S.G. ch. 5, pt. B)

a. Imposition of a Term of Probation (U.5.8.G. § 5B1.1)

 

1. Probation is not authorized by the guidelines (minimum of guideline range > 6 months or statute of
conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split Sentence).

 

 

2. Probation is authorized by the guidelines (minimum of guideline range = zero months).

 

 

3. Probation is authorized by the guidelines, provided the court imposes a condition or combination of
v conditions requiring intermittent confinement, community confinement, or home detention satisfying
the minimum of the guideline range (minimum of guideline range > 0 months but < 6 months).

 

 

 

b. Length of Term of Probation (U.S.8.G. § 5B1.2)

 

v 1. Atleast 1 year but nol more than 5 years (total offense level = 6).

 

 

2. No more than 3 years (total offense level < 6).

 

 

 

c. Conditions of Probation (U.S.8.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of probation.

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(c)(2), (d)(2))

 

a. A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

 

 

b. A split sentence is authorized (minimum of guideline range > 0 months but < 10 months). The court
may impose a sentence of imprisonment that includes a term of supervised release with a condition
that substitutes community confinement or home detention for imprisonment, provided that at least
one-half of the minimum of the guideline range is satisfied by imprisonment (if the minimum of the
guideline range is 8, 9, or 10 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, or 6 months). The authorized length of the term of
supervised release is set forth below in Itern 4.b

 

 

 

3. IMPRISONMENT (U.S.S.G, ch, 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable guideline range
(entered in tem 6 of Worksheet D). (See U.S.S.G. § §C1.1.)

(rev. 06/99}
  
 

Case 2:07-cr-20156-AC-MKM ECF No. 6 filed 11/13/07 PagelD.38 Page 17 of 18

(WORKSHEET E, p. 2)

4, SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

 

 

 

 

 

 

 

 

 

 

Imposition of a Term of Supervised Release (U.S.8.G, § 5D1.1)

The court must impose a term of supervised release if il imposes a term of imprisonment of more
than one year, or if it is required to do so by statute. The court may impose a term of supervised
release if it imposes a term of imprisonment of one year or less.

Length of Term of Supervised Release (U.S.8.G. § 5D1.2)

At least 3 years but not more than 5 years, where the count of conviction is a Class A or a Class B
felony, .e., an offense carrying a maximum term of imprisonment 2 25 years.

At least 2 years but not more than 3 years, where the count of conviction is a Class C or a Class D
felony, i.e., an offense carrying a maximum term of imprisonment = 5 years but < 25 years.

1 year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.¢., an offense
carrying a maximum term of imprisonment > 6 months but < 5 years.

The statute of conviction requires a minimum term of supervised release of months.

Conditions of Supervised Release (U.S.8.G. § 5D1,3)

The court must impose certain conditions of supervised release and may impose other conditions of
supervised release.

5. RESTITUTION (U.S.S.G. § 5E1.1)

 

 

 

 

 

 

 

 

 

 

 

 

1.

The court will determine whether restitution should be ordered and in what amount.
Full restitution to the victim(s) of the offense(s) of conviction is required by statute. (See, e.g., 18
U.S.C. §§ 3663A, 2327.) The parties agree that full restitution is $

The parties agree that the court may order restitution to the victim{s) of the offense(s) of conviction
in any amourit up to and including $ . (See 18 U.S.C. $§ 3663(a)(3).)

The parties agree that the court may alse order restitution to persons other than the victim(s) of the
offense(s) of conviction. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3),)

Restitution is not applicable.

(rev. 06/99)

 
   

Case 2:07-cr-20156-AC-MKM ECF No.6 filed 11/13/07 PagelD.39 Page 18 of 18
(WORKSHEET FE, p. 3)

FINE (U.S.S.G. § SE1.2)

a. Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is unable to pay and is not
likely to become able to pay any fine.” (See U.S.8.G. § 5E1.2(a).} Generally, the fine authonzed by the
guidelines is hmited to the range established in the Fine Table. (See U.S.5.G. § 5E1.2(b).) However, there
are caceptions to this pencral rule. (See U.S.8.G. § 561.2(b), (c)(4).)

b. Fine Range from Fine Table (U.S.5.G. § SE1.2(c)(3))

Minimeam Fine Maximum Fine
$ 2,000 § 250,000

SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction. The special assessments for individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
% 25.00 for every count charging a Class A misdemeanor,

$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every count charging a Class C misdemeanor or an infraction.

The defendant must pay a special assessment or special assessments in the total ammount of $225

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)

List any applicable aggravating or mitigating circumstance that might support a term of imprisonment above or
below the applicable guideline range.

 

 

(rev, 06/99)

 
